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                 UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                 [PROPOSED] ORDER GRANTING
                                          MOTION TO WITHDRAW AS
                                          COUNSEL OF RECORD WITHOUT
                                          SUBSTITUTION

              Plaintiff,                  Case No:      24-cv-02944-KMM-JFD

v.

1.      Evergreen Recovery Inc.;
2.      Evergreen Mental Health Services Inc.;
3.      Ethos Recovery Clinic Inc.;
4.      Second Chances Recovery Housing Inc.;
5.      Second Chances Sober Living, Inc.;
6.      David Backus;
7.      Shawn Grygo; and
8.      Shantal Magadanz,

              Defendants.


        A motion to withdraw as counsel came before the Court on August 13,

2024.

        Based upon all the files, pleadings, and arguments of counsel in the matter,

the Court GRANTS the motion to withdraw as counsel for Defendants Evergreen

Recovery Inc., Evergreen Mental Health Services Inc., Ethos Recovery Clinic Inc.,

Second Chances Recovery Housing Inc., Second Chances Sober Living, Inc., and

Shawn Grygo for good cause.
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      Counsel’s motion to withdraw as counsel of records without substitution is

hereby GRANTED.




Dated: August      , 2024
                                           The Honorable Kate M. Menendez
                                           District Court Judge




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